Case: 2:25-cv-00409-ALM-EPD Doc #: 17 Filed: 04/30/25 Page: 1 of 2 PAGEID #: 364




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


  PRASANNA ORUGANTI,

  Plaintiff,                                        CASE NO. 2:25-cv-00409

          v.                                        JUDGE ALGENON L. MARBLEY

  KRISTI NOEM, Secretary, United States                MAGISTRATE JUDGE ELIZABETH PRESTON
  Department of Homeland Security, et al.,             DEAVERS

  Defendants.


                                 STIPULATION OF DISMISSAL
   Upon consultation and consent of the parties, counsel for Defendants represent that the SEVIS
record for Plaintiff, Prasanna Oruganti has been re-activated, that re-activation having been
executed and confirmed by the parties and non-party Plaintiff’s employer on or by the evening of
Monday, April 21, 2025. Also, SEVP has never claimed that it had terminated Oruganti’s
nonimmigrant status. ECF No. 12-1, PAGEID #: 199, Watson Decl., at ¶11. Therefore, counsel
for Plaintiff and counsel for Defendants hereby dismiss this case without prejudice under Federal
Rule of Civil Procedure 41(a)(1)(A)(ii), with each party bearing their own costs and fees. Should
Plaintiff re-file a related action, the United States Attorney’s office will not object to relating that
refiled action to this case, pursuant to Southern District of Ohio, Local Rule 3.1(b).
Respectfully submitted,

KELLY A. NORRIS
Acting United States Attorney

s/Christopher R. Yates                                   s/Emily Brown                              _
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Case: 2:25-cv-00409-ALM-EPD Doc #: 17 Filed: 04/30/25 Page: 2 of 2 PAGEID #: 365




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